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                     Supreme Court of the United States

                                      No.   23A243


                    VIVEK H. MURTHY, SURGEON GENERAL, ET AL.,

                                                          Applicants
                                            v.


                                   MISSOURI, ET AL.



                                       ORDER



            UPON CONSIDERATION of the application of counsel for the

      applicants,

            IT IS ORDERED that the preliminary injunction issued on July 4,

      2023, by the United States District Court for the Western District of

      Louisiana, case No. 3:22-cv-01213, is hereby administratively stayed until

      11:59 p.m. (EDT) on Friday, September 22, 2023. It is further ordered that

      any response to the application be filed on or before Wednesday, September

      20, 2023, by 4 p.m. (EDT).



                                                      /s/ Samuel A. Alito, Jr.
                                                  Associate Justice of the Supreme
                                                     Court of the United States

      Dated this 14th
      day of September, 2023.
